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                            United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

GEORGE KENNETH SCHOPP                               §
                                                    §           Civil Action No. 4:20-cv-868
v.                                                  §           Judge Mazzant
                                                    §
QUICK CAPITAL FUNDING, LLC                          §
                                                    §

                                 FINAL DEFAULT JUDGMENT

        Pending before the Court is Plaintiff George Kenneth Schopp’s Motion for Default

Judgment Against Defendant Quick Capital Funding, LLC (Dkt. #9). Having considered the

Motion, the Court finds that the Motion should be GRANTED in part. Plaintiff is entitled to a

default judgment against the defaulting defendant in the amount of $27,400.

                                          BACKGROUND

        The case concerns violations of the Telephone Consumer Protection Act (“TCPA”).

Beginning on October 7, 2019, George Kenneth Schopp began receiving telephone calls from

Quick Capital Funding, LLC and its agents for the purpose of encouraging the purchase or rental

of, or investment in, property, goods, or services (Dkt. #1 ¶ 1.2). The calls were allegedly made

through an automatic dialing system (Dkt. #1 ¶ 5.12). Plaintiff continued to receive such calls on

16 occasions between October 7, 2019 and November 5, 2020 (Dkt. #9 p. 4).

        More than thirty-one days before the first call, Plaintiff registered his cell phone number

on the National Do Not Call Registry (the “Registry”) (Dkt. #1 ¶ 5.6). The purpose of the Registry

is for users to indicate their desire not to receive telephone solicitations at the registered telephone

number. See 47 C.F.R. § 64.1200(c)(2).

        Plaintiff alleges Defendant violated Sections 227(c) and 227(b)(1)(A)(iii) of the TCPA

(Dkt. #1 ¶ 8.3; Dkt. 9 p. 3). The TCPA’s purpose is to prohibit telemarketers from soliciting
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residential and wireless telephone subscribers to the Registry (See Dkt. #9 p. 3). Section

227(b)(1)(A) prohibits the use of automatic phone dialing systems to make any call to a wireless

number without prior express consent or for an emergency purpose (Dkt. #1 ¶ 1.1). Some of the

calls that Plaintiff answered began with silence before an agent subsequently came onto the line

(Dkt. #1 ¶ 5.12). This practice is allegedly consistent with the use of automatic phone dialing

systems (Dkt. #1 ¶ 5.12). In addition to registering his cell phone number on the Registry, Plaintiff

asserts that he never consented to being placed on a call list and voiced his opposition to

Defendant’s agents over the telephone (Dkt. #1 ¶ 5.1; Dkt. #1 ¶¶ 5.13-5.15). None of the calls at

issue were placed by Defendant for “emergency purposes” (Dkt. #1 ¶ 5.2).

       On November 6, 2020, Plaintiff sued Defendant for violating Sections 227(c) and

227(b)(1)(A)(iii) of the TCPA (Dkt. #9 p. 13). Defendant was served a copy of the Complaint on

November 9, 2020 but never responded or otherwise defended itself (Dkt. #3). On January 27,

2021, the Clerk entered default against Defendant (Dkt. #8).

       On February 19, 2021, Plaintiff moved for a Default Judgment and seeks $48,000 in

statutory damages and $503 in costs, for a total of $48,503 (Dkt. #9 p. 13). There was no response.

                                      LEGAL STANDARD

       Rule 55 of the Federal Rules of Civil Procedure sets forth certain conditions under which

default may be entered against a party, as well as the procedure to seek the entry of default

judgment. FED. R. CIV. P. 55. The Fifth Circuit requires a three-step process for securing a default

judgment. New York Life Ins v. Brown, 84 F.3d 137, 141 (5th Cir. 1996). First, a default occurs

when a defendant has failed to plead or otherwise respond to the complaint within the time required

by Rule 12 of the Federal Rules of Civil Procedure. FED. R. CIV. P. 55(a); New York Life Ins., 84

F.3d at 141. Next, an entry of default may be entered by the clerk when the default is established




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by affidavit or otherwise. FED. R. CIV. P. 55(a). Third, a plaintiff may then apply to the clerk or the

court for a default judgment. FED. R. CIV. P. 55(b); New York Life Ins., 84 F.3d at 141.

        Entry of default judgment is within the court’s discretion. Lindsey v. Prive Corp., 161 F.3d

886, 893 (5th Cir. 1998). Although entries of default judgment are generally disfavored in the law,

entry of a default judgment is not an abuse of discretion when a defendant fails to answer a

complaint. Lacey v. Sitel Corp., 227 F.3d 290, 292 (5th Cir. 2000); Bonanza Int’l, Inc. v. Corceller,

480 F.2d 613, 614 (5th Cir. 1973).

                                            ANALYSIS

        The Court finds that Plaintiff is entitled to a default judgement. To determine whether to

enter default judgement, courts in the Fifth Circuit apply a three-part analysis: (1) whether entry

of default judgment is procedurally warranted, (2) whether there is a sufficient basis for judgments

in the pleadings, and (3) what form of relief, if any, a plaintiff should receive. Lindsey, 161 F.3d

at 893. The Court applies this framework and finds that default judgment is appropriate.

   I.      Default Judgment Is Procedurally Warranted

        Default judgment is procedurally warranted because Defendant never answered or

otherwise defended itself in response to the Complaint (See Dkt. #3–4 (Summons executed); Dkt.

#9). The Court considers six factors:

        [1] whether material issues of fact are at issue; [2] whether there has been substantial
        prejudice; [3] whether the grounds for default are clearly established; [4] whether the
        default was caused by a good faith mistake or excusable neglect; [5] the harshness of a
        default judgment; and [6] whether the court would think itself obliged to set aside the
        default on the defendant’s motion.

Lindsey, 161 F.3d at 893.

        First, there are no material issues of fact because Defendant has not answered the

Complaint (See Dkt. #9). The Fifth Circuit holds that once a default judgment has been entered,

the plaintiff’s well-pleaded factual allegations are accepted as true, except regarding damages. See


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U.S. For Use of M-CO Const., Inc. v. Shipco General, Inc., 814 F.2d 1011, 1014 (5th Cir. 1987).

Second, Defendant’s failure to respond prejudices Plaintiff because it halts the adversarial process.

See Cunningham v. Crosby Billing Services, Co., Civ. A. No. 4:18-cv-00043-ALM-CAN, 2018

WL 6424792, at *3 (E.D. Tex. Oct. 14, 2018). Third, the grounds for default judgment are clearly

established when Defendant does not participate in any part of the adversarial process including

responding to summons, complaint, entry of default, or motion for default judgment. See Holladay

v. OTA Training, LLC, No. 3:14-cv-0519-B, 2015 WL 5916440, at *4 (N.D. Tex. Oct. 8, 2015).

Fourth, Defendant has not offered any evidence that its unresponsiveness is due to a good faith

mistake or excusable neglect. Fifth, a default judgment is not unusually harsh in this case as

Defendant has had ample opportunity to respond after receiving notice of this action. See, e.g.,

Cunningham, 2018 WL 6424792, at *3 (entering default judgment against defendants who failed

to respond to an action brought under the TCPA). Finally, there is no indication that Plaintiff has

contributed to the delay of this action or otherwise given the Court any reason to set aside default

judgment.

         The Court finds that the six Lindsey factors weigh in Plaintiff’s favor. 161 F.3d at 893. As

such, default judgment is procedurally warranted.

   II.      There is a Sufficient Basis for Default Judgment in the Pleadings

         Next, the Court reviews the pleadings to determine if there is a sufficient basis for

judgment. See Nishimatsu Constru. Co. v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975).

Plaintiff alleges that Defendant’s actions violated Sections 227(c) and 227(b)(1)(A)(iii) of the

TCPA (Dkt. #1 ¶ 8.3; Dkt. 9 p. 3).

         The TCPA was created to protect residential telephone users’ privacy rights to avoid

receiving unwanted telephone solicitations. See 47 U.S.C. § 227(c)(1). Telephone solicitation is




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defined by the TCPA as “the initiation of a telephone call or message for the purpose of

encouraging the purchase or rental of, or investment in, property, goods, or services.” 47 U.S.C. §

227(a)(4). Section 227(c)(5) of the TCPA allows a private right of action for “a person who has

received more than one telephone call within any 12-month period by or on behalf of the same

entity” in violation of the federal Do Not Call Registry. 47 U.S.C. § 227(c)(5).

       Plaintiff registered his cell phone number on the National Do Not Call Registry (Dkt. #1 ¶

5.6). After Plaintiff’s phone number was on the registry for more than 31 days, Plaintiff received

unwanted calls. Plaintiff asserts Defendant called Plaintiff’s registered phone on 16 occasions

within a 12-month period (See Dkt. #1 ¶ 1.2). These calls were made without Plaintiff’s consent

and persisted through Plaintiff’s demands to stop (See Dkt. #1 ¶ 1.3). In support of this claim, the

pleadings offer dates and the nature of the telephone calls, generally offers to loan Plaintiff money

(See Dkt. #1 ¶ 5.9–5.15). Given Defendant’s default, the Court takes Plaintiff’s allegations as true,

and finds a sufficient basis for Defendant violating Section 227(c) of the TCPA by calling

Plaintiff’s registered phone on 16 occasions within a 12-month period. See Nishimatsu, 515 F.2d

at 1206 (well-pleaded facts in a default judgment are taken as true).

       Plaintiff also contends Defendant used an automatic dialing system in violation of Section

227(b)(1)(A)(iii) of the TCPA (Dkt. #1 ¶ 5.12). This section prohibits using an automatic dialing

system to call any telephone number assigned to a cellular telephone service unless the call is made

for an emergency purpose or with prior consent of the called party. See 47 U.S.C. §

227(b)(1)(A)(iii). However, a recent Supreme Court ruling called into question the

constitutionality of this section. See Barr v. American Association of Political Consultants, Inc.

(AAPC), 140 S. Ct. 2235 (2020). In AACP, the Supreme Court held that the government-debt

exception violated the First Amendment and decided to sever the government-debt exception from




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the rest of Section 227(b)(1)(A)(iii). See 140 S. Ct. at 2355. In turn, this Court analyzed whether

violations of Section 227(b)(1)(A)(iii) outside the government-debt exception became

unconstitutional from the moment the government-debt exception was enacted in 2015. See

Cunningham v Matrix Fin. Services, Civ. A. No. 4:19-cv-896, 2021 WL 1226618, at *9–10 (E.D.

Tex. Mar. 31, 2021) (emphasis added). The Court ruled that distinguishing government-debt

collection calls from other types of automated calls violated the First Amendment because the

Section in its entirety became a content-based restriction on speech. Cunningham, 2021 WL

1226618, at *3. The legal significance of this ruling is that any automated calls made between the

enactment of the government-debt exception (2015) and the moment the AAPC ruling was handed

down (July 2, 2020) do not violate Section 227(b)(1)(A)(iii).

       Here, fourteen of the sixteen allegedly automated calls occurred within this time period

and are thus non-violations (Dkt. #1 ¶¶ 5.9–5.11). The Court must examine the two calls made

after July 2, 2020 to determine whether they violated Section 227(b)(1)(A)(iii) (Dkt. #1 ¶ 5.11).

These two calls began with silence before an agent subsequently came onto the line (Dkt. #1 ¶

5.12). The pleadings assert that this pattern is consistent with the use of an automatic telephone

dialing system (Dkt. #1 ¶ 5.12). This Court found a sufficient basis for such claim where the

plaintiff alleged that “a period of silence is indicative of an automatic dealer.” Cunningham, 2018

WL 6424792, at *4 (quoting Barnes v. Santander Consumer USA, Inc., No. 1:14-cv-01941, 2015

WL 12777362, at *1 (N.D. Ohio June 15, 2015)).

       Defendant has not come forward with any evidence that these calls were made for

“emergency purposes” (Dkt. #1 ¶ 5.2). Rather, the pleadings contend the calls were part of an

effort to offer loans to the called party (Dkt. #1 ¶ 5.4). Plaintiff contends he is not Defendant’s

customer and never provided written consent to be called (Dkt. #1 ¶ 5.5). Plaintiff’s decision to




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register on the National Do Not Call Registry is further affirmation of his desire not to consent to

such calls (See Dkt. #1 ¶ 1.2). Based on these facts, the Court finds that there is a sufficient basis

for two claims under 227(b)(1)(A)(iii) of the TCPA.

   III.      Forms of Relief

          Plaintiff requests the Court award a total of $48,503 in statutory damages and costs (See

Dkt. #9 at p. 13). The TCPA provides that a consumer may be awarded $500 per call made in

violation of each of the sections violated. See 47 U.S.C. §§ 227(b)(1)(A)(iii); 227(c). Treble

damages ($1,500) may be awarded for willful or knowing violations. See 47 U.S.C. §§

227(b)(3)(C).

             a. Statutory Damages

          Plaintiff’s Complaint establishes that Defendant violated Section 227(c) on 16 occasions

and Section 227(b)(1)(A)(iii) on 2 occasions (See Dkt. #1). Plaintiff alleges Defendant willfully

and knowingly violated the TCPA by “spoofing” the calling phone numbers and ignoring

Plaintiff’s pleas to stop calling (See Dkt. #1 ¶¶ 5.8, 5.13) (“spoofing” refers to having a phone’s

Caller ID show a local area code to deceive a call receiver into answering a call).

          The FCC has interpreted “willful or knowing” under the TCPA “as not requiring bad faith,

but only that the person have reason to know, or should have known, that his conduct would violate

the statute.” Tex. v. Am. Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex. 2001). Defendant’s

actions seem like the type of conduct that Congress intended to prohibit (See Dkt. #9 p. 3).

Defendant knew or should have known its conduct violated the statute because Plaintiff was on

the Registry, did not have prior business with Defendant, and requested to not be called (Dkt. #1

5.6, 7.3). Given Defendant’s default, the Court, in its discretion, may award treble damages for

each willful of knowing violation of the TCPA. 47 U.S.C. § 227(b)(3)(C).




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        After considering the facts of this case, the Court finds treble damages appropriate. As each

of the 16 phone calls willfully violated Section 227(c) and 2 of the phone calls also violated

227(b)(1)(A)(iii), the statutory damages total $27,000 ($1,500 for each of the 18 willful violations).

            b. Costs

        In addition to statutory damages, Plaintiff also requests that the Court award litigation costs

in the total amount of $503. This includes the $400 filing fee and $103 for serving the Defendant.

In accordance with Federal Rule of Civil Procedure 55(b), Plaintiff submitted an affidavit detailing

costs (Dkt. #9, Exhibit 1 at p. 3).

        Federal Rule of Civil Procedure 54(d) gives a court discretion to award costs to a prevailing

party. See FED. R. CIV. P. 54(d). 28 U.S.C. “§ 1920 defines the term ‘costs’ as used in Rule 54(d).”

Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 441 (1987). Section 1920 allows a court

to tax as costs certain enumerated categories of fees, including “[f]ees of the clerk and marshal,”

and “[d]ocket fees under section 1923.” 28 U.S.C. § 1920.

        Plaintiff is only entitled to recover the $400 filing fee (Dkt. #1) (receipt number 0540-

8094767). The service fees are listed as $0 in the proof of service documents (Dkt. #3–4). Plaintiff

is not entitled to recover fees on private service of process. Cunningham, 2018 WL 6424792, at

*11 (citing Vanderbilt Mortg. & Fin., Inc. v. Flores, No. CIV.A. C-09-312, 2011 WL 2160928, at

*21–22 (S.D. Tex. May 27, 2011)). Accordingly, the Court grants in part Plaintiff’s request.




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                                          CONCLUSION

            It is therefore ORDERED that Plaintiff George Kenneth Schopp’s Motion for Default

    Judgment Against Defendant Quick Capital Funding, LLC (Dkt. #9) is hereby GRANTED in

.   part.

            It is further ORDERED that George Kenneth Schopp is awarded $27,000 in statutory

    damages and $400 in costs which shall be paid by Defendant Quick Capital Funding, LLC.

            IT IS SO ORDERED.
            SIGNED this 26th day of July, 2021.




                                       ___________________________________
                                       AMOS L. MAZZANT
                                       UNITED STATES DISTRICT JUDGE




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